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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                             CASE NO: 9:23-CV-80630-Matthewman

 TIMMIE LEE KNOX, JR.

                Plaintiff,
 v.

 RIC BRADSHAW, in his capacity as Sheriff
 of Palm Beach County, Florida, and DEPUTY
 SHERIFF DUSTIN SULLIVAN, individually,

                Defendants.
                         ____                          /

                     STIPULATION OF DISMISSAL WITH PREJUDICE

         The Plaintiff, TIMMIE LEE KNOX, JR, and the Defendants, RIC BRADSHAW,

 individually and in his capacity as Sheriff of Palm Beach County, Florida (Palm Beach County

 Sheriff’s Office/PBSO), and DEPUTY SHERIFF DUSTIN SULLIVAN, individually, and their

 respective counsel, pursuant to Rule 41 of the Federal Rules of Civil Procedure, file this their

 Stipulation of Dismissal with Prejudice, with each party to bear their own costs and attorneys'

 fees.

 Respectfully submitted,

           /s/Rosalyn Sia Baker-Barnes
         ROSALYN SIA BAKER-BARNES, ESQUIRE
         Fla. Bar No.: 327920
         JOHN SCAROLA, ESQUIRE
         Fla. Bar No.: 169440
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          /s/Richard Giuffreda
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I have electronically filed a copy of the forgoing with the

 Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing

 to: RICHARD A. GIUFFREDA, ESQUIRE, 2455 East Sunrise Boulevard, Suite 1216, Fort

 Lauderdale, Florida 33304 [richard@purdylaw.com and jennifer@purdylaw.com], this 24th day

 of July 2024.

                                     /s/Rosalyn Sia Baker-Barnes
                                    ROSALYN SIA BAKER-BARNES, ESQUIRE
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                                    JOHN SCAROLA, ESQUIRE
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